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The United States of America

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, Case No.: 2:20-mj-00456-BNW
Plaintiff, COMPLAINT
VS. VIOLATIONS:
STEPHEN T. PARSHALL, oO 18 U.S.C. §§ 844 (f), i) and (n) — Conspiracy
aka “Kiwi” to damage and destroy by fire and explosive;
ANDREW LYNAM, and
WILLIAM L. LOOMIS, 26 U.S.C. §§ 5841, 5861(d), and 5871 -
, Possession of unregistered firearms.
Defendants.

 

 

 

 

BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned

Complainant, being duly sworn, deposes and states:

COUNT ONE
Conspiracy

1, Beginning from at least in or about April 2020 and continuing up to and
including on or about May 30, 2020, in the State and Federal District of Nevada, and
elsewhere,

STEPHEN T. PARSHALL,

 
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aka “Kiwi”
ANDREW LYNAM, and
WILLIAM L. LOOMIS,

defendants herein, and others known and unknown, knowingly combined, conspired,
confederated, and apreed to commit the following offenses against the United States, in
violation of Title 18, United States Code, Section 844(n), that is: _

a. to maliciously damage and destroy, by means of fire and explosives,
buildings and other personal or real property, in whole and in part owned possessed by or
leased to the United States, a department and agency of the United States by means of fire
and explosive, in violation of Title 18, United States Code, Section 844(f); and

b. to maliciously damage and destroy, by means of fire and explosives,
buildings and other personal and real property, used in interstate commerce and in any
activity affecting interstate commerce, in violation of Title 18, United States Code, Section
844(i);

All in violation of Title 18 United States Code, Sections 844(f), (i), and (n).

COUNT TWO
Possession of an Unregistered Firearm

2. On or about May 30, 2020, in the State and Federal District of Nevada,

STEPHEN T. PARSHALL,
aka “Kiwi”
ANDREW LYNAM, and
WILLIAM L. LOOMIS,

defendants herein, possessed firearms, specifically destructive devices, as that term is
defined in Title 18 United States Code, Section 5845(f), that were not registered to them in
the National Firearms Registration and Transfer Record, all in violation of Title 26 United

States Code, Sections 5841, 5861(d), and 5871.

 
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AFFIANT EXPERIENCE

1. Iama Special Agent with the Federal Bureau of Investigation (“FBI”) and
have been employed by the FBI since 2017. I am currently assigned to the Las Vegas FBI
Joint Terrorism Taskforce (“JTTF”) and I am responsible for investigating threats to life andi
domestic terrorism. Before joining the FBI, I was a Federal Agent, employed by the United
States Border Patrol for approximately four years. In that capacity I was charged with
enforcing federal immigration law, combating human trafficking and dismantling human
and narcotic smuggling organizations. I was also a part of a successful canine detection
team and assigned to assist with several local and state task force narcotic and human
smuggling interdiction teams. Before joining the United Border Patrol, I completed a
master’s degree in Crisis and Emergency Management in 2011. I have received basic,
advanced, and on the job training in investigations of cases involving threat to life matters
and. domestic terrorism.

2. The following information contained within this criminal complaint is based
upon my participation in this investigation or information provided to me by other JTTF
members and law enforcement personnel. Because this Affidavit is being submitted for the
limited purpose of securing a Criminal Complaint, I have not included each and every fact
known to me concerning this investigation. I have set forth only those facts that I believe are
necessary to establish probable cause for the above listed offense. All times noted are
approximate.

PROBABLE CAUSE

3. In April 2020, the Las Vegas Joint JTTF began investigating ANDREW

LYNAM (“LYNAN”) and STEPHEN PARSHALL (“PARSHALL”), aka “Kiwi”, based

on information provided by a reporting party that LYNAM and PARSHALL were

 
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potentially planning terrorist activity. Las Vegas FBI agents met with the reporting party
(RP) of the complaint and the RP was later signed up as an FBI Confidential Human Source
(CHS). In May 2020, WILLIAM LOOMIS became a subject of the investigation.

4. LYNAM is currently an Army Reservist, PARSHALL was formerly enlisted
in the Navy, and LOOMIS was formerly enlisted in the Air Force. LYNAM, PARSHALL,
and LOOMIS have self-identified as part of the “Boogaloo” movement, and were part ofa
Nevada Boogaloo Facebook group. Boogaloo is a term used by extremists to signify a
coming civil war and/or fall.of civilization.' |

3. In Early April 2020, CHS met the members of the aforementioned group, in
person, at a ReOpen Nevada rally held at the Grant Sawyer Building in Las Vegas, Nevada.
CHS met an individual named ANDREW LYNAM and another whom he only knew by
the nickname KIWI, later identified as PARSHALL.

6. During the rally, LYNAM stated that their group was not for joking around
and that it was for people who wanted to violently overthrow the United States government.
The other individuals within this group, including PARSHALL, appeared to agree with
LYNAWM’s statement. During the rally all identified group members possessed firearms to
include pistols and rifles, including variations of AR-15's.

7. LYNAM told CHS he intended to target structures that did not have a
defense system. The goal would be to put an economic burden on businesses and the
government. PARSHALL had maps that showed terrains and locations. PARSHALL

mentioned an unoccupied United States Forest Service ranger station.

 

' See generally, https://www.adl.org/blog/the-boogaloo-extremists-new-slang-term-for-a-
coming-civil-war, last visited June 2, 2020.

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8. LYNAM planned a group hike on Saturday April 25, 2020, to do a meet and
greet with additional members invited into the group. LYNAM created an account on an
encrypted communication application (“encrypted application”) between the identified |
group members.

9, CHS reported that during the hike, the group including LYNAM and
PARSHALL, discussed the beginning stages of their plan to disrupt the United States
economy. LYNAM said he wanted a trial run, to test the members of the group, as well as
the response of the United States government. The trial run would be to destroy a specific
ranger station near Lake Mead. LYNAM said they needed at least six members to carry out
the plan. |

10. PARSHALL provided maps and documents of the Lake Mead area.
LYNAM and PARSHALL stated theoretical specifics of which roads certain members
would need to take to access the ranger station. Further, they would need to figure out how
many people in each group would need to be sent, during specific times of day or night, in
order to carry out the attack and minimize exposure to law enforcement and the public.

11. LYNAM said they would need to stagger groups. One group would bring in
the supplies to the targeted location, while the other group would then come at a later time
to set up the materials. Each member or group would also need to use different entrances
and routes so as to allow “plausible deniability,” regarding the attack. LYNAM said further
discussion and more specifics would come with time, as they gain more members and
finalize their target and means of attack. LYNAM discussed using means of explosive or

arson to carry out the attack on the ranger station.

 
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12. PARSHALL advised he had a specific ranger station in mind, but did not
disclose to the group the exact location. He indicated the station in question had
approximately seven video surveillance cameras that would need to be avoided or disrupted.

13. After the hike, PARSHALL took the ID's and phone numbers from each
person, including CHS, writing them down, so he could conduct background checks on the
members. LYNAM asked people, individually, what their skills/abilities were and what
they could bring to the group.

14. The group seemed to be focus their attention to the disruption of economic
activity, primarily the destruction of property at sub-stations, power plants, and/or a
location at the border between Arizona and Nevada.

15. On May 9, 2020, the LYNAM, PARSHAL, CHS and others, took part in an
Open Nevada protest. LYNAM and PARSHALL wore military-like load bearing vests that
have rifle rated metal plates within. The vests then have various pouches and pockets
designed to hold extra rifle magazines, as well as other various tools. After the conclusion of
the rally, LYNAM and PARSHALL advised of a future plan for the upcoming ReOpen
Nevada protest to occur on May 16, 2020.

16. LYNAM and PARSHALL stated they want to loosely follow the guidelines
of Irish Republican Army (IRA) Green Book.” They indicated they want the government to
show its hand. In order to do so, they wanted to create a chaotic and confusing scene for the
upcoming protest. This would include any type of fireworks, smoke bombs, or noise

makers. These devices would be placed in predetermined locations, before the beginning of

 

2 The Green Book is an introduction and training manual issued to new volunteers who join
the IRA. It explains the IRA’s mission, methods, and purpose; stressing the need for secrecy
and commitment. It includes a statement of military objectives, tactics, and conditions for
military victory against the British government. The Green Book has acted as matter of
conduct and induction to the IRA since at least the 1950s.

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the protest and set off during said protest. The goal would be to set the devices off and cause
panic to the police and public, in hopes that it causes others to take some type of action.
Whether it be by police or by the public, LYNAM and PARSHALL wanted some type of
confrontation between the police and the protesters. LYNAM tasked each member of the
group to obtain whatever materials they could, to create the aforementioned devices.

17. On May 13, 2020, LYNAM called off the plan because he believed it would
not be feasible to detonate fireworks on a delay or with a timer.

18. On Friday May 16, 2020, PARSHALL, CHS, an FBI Undercover Employee
(“UCE”) and others, but not LYNMAN attended a ReOpen Nevada protest. PARSHALL
and others wore their outer-carriers and carried rifles. PARSHALL told the group he had
purchased the smoke canisters and planned to use them at the protest, should the
opportunity arise.> Agents observed PARSHALL walk past a large group of uniformed
police officers, past multiple garbage bins and place a bag on the ground near the DMV
building. After communicating the observation, local police recovered the bag and handed it
over to agents. The bag contained multiple spent shotgun shells, empty packaging for a new
magazine to a Smith & Wesson M&P Shield, and an empty box that read “PM 170.”

19. PARSHALL ultimately decided the protest was not the best location to cause
a disruption through throwing smoke canisters. The group noticed local police to be intently
observing their movements, as they were the only people wearing outer-carriers and
carrying rifles. PARSHALL determined it would be too obvious that he threw the canisters
and wanted to be able to cause chaos and a disruption, while not being detected by law

enforcement.

 

3 FBI Agents observed PARSHALL purchased two smoke canisters at a military surplus
store.
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20. The FBI UCE reported that while at the protest, LOOMIS approached the
group and advised he wanted to join. On May 19, 2020, LYNAM and CHS met LOOMIS
at a local park. LOOMIS indicated that he was looking to actively disrupt the United States
government. LYNAM was pleased with the meeting and stated that LOOMIS was a good
candidate for a new member, should PARSHALL agree and perform his background
checks.

21. On May 23, 2020, LYNAM, PARSHALL, LOOMIS, CHS, and another
person went on a near Red Rock. During the hike, LOOMIS indicated he was fully on
board with any type of physical action and planning. LOOMIS sated that he wanted to join
the group to take action against the United States government. Loomis mentioned that he
was previously part of several militia groups, but ultimately left due to inactivity.

22. During the conclusion of the hike, PARSHALL advised he wanted to
continue the plan to destroy a building near Lake Mead. PARSHALL and the CHS
conducted initial reconnaissance immediately following the hike.

23. PARSHALL and CHS drove to a Lake Mead Fee Station (the Station).
There, PARSHALL discussed the plan to destroy the Station. PARSHALL determined the
best way would be to smash the windows and then throw in a firebomb with accelerant.
PARSHALL checked the building for its source of power and determined they would need
to disable the power before lighting the building on fire. PARSHALL noted there were at
least five exterior cameras. |

24, PARSHALL advised he would need two people to arrive at the Station and
break the windows and light the building on fire. The others would have roles such as
blocking traffic on each side of the roadway, with cones, and other support roles.

PARSHALL stated that he and LYNAM would be the two to light the building on fire.

 
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25. On the evening of May 27, 2020, LOOMIS contacted the group via the
encrypted application, to meet at Lone Mountain Hiking Trail in the City of Las Vegas, at
approximately 2300 hours. PARSHALL and CHS responded that they would take part in
the meeting. LYNAM did not respond.

26. CHS reported that at the meeting, PARSHALL and LOOMIS discussed
causing an incident to incite chaos and possibly a riot, in response to the death of a suspect
(referring to George Floyd) in police custody in Minneapolis, MN. LOOMIS stated he
wanted to target a power substation and wanted to throw a type of "firebomb" or incendiary
to cause destruction. The plan would be for someone to run a distraction, off site of the
power structure, so police resources were used for the distraction and not the intended main
target. The plan was to take place the next evening on Thursday May 28, 2020, the
following night.

27. PARSHALL, LOOMIS, and CHS then scouted the target, an NV Energy
power substation located on the Northeast corner of Eastern Ave. and Bonanza Rd. in Las
Vegas. On the northern portion of the power substation, were power converters resting on
metal structure beams. The goal was to create a “firebomb” using a combination of
fireworks, accelerant, and, gasoline to create an explosion and subsequent fire. The plan was
to target the power converter within the power substation.

28. After scouting the area, the group decided to “sleep” on the plan and see how
everyone felt the following morning. On the morning of Thursday May 28, 2020, the group
decided to continue with the plan.

29. LOOMIS and PARSHALL dictated the plan would be to continue with the
“firebomb” of the power converter. The group was to meet in the dirt parking lot on the

northeast corner of Adams St. and 4th Ave in Las Vegas.

 
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30. | Once CHS detonated a smaller version of a "firebomb" to create a distraction,
CHS would radio to PARSHALL and LOOMIS that it had been detonated, PARSHALL
would then target the power converter.*

31. After PARSHALL threw the “firebomb,” he would return to LOOMIS’
vehicle and leave the area. LOOMIS advised he had four handheld radios the group could
use to communicate and signal when the distraction was set off. The group also discussed
having plate carriers and rifles in their vehicles, but wearing regular clothing so as to not
cause attention. |

32. PARSHALL indicated through the encrypted application to CHS to keep
LYNAM out of the loop. However, on May 28, 2020, via the encrypted application,
LYNAM instructed the group to observe the riots occurring throughout the country and use
that momentum as a driving force to possibly take action against the Lake Mead Fee Station,
on Saturday May 30, 2020. LYNAM told the group to be ready to take action.

33. CHS stated that PARSHALL and LOOMIS's idea behind the explosion was
to hopefully create civil unrest and rioting throughout Las Vegas. They wanted to use the
momentum of the George Floyd death in police custody in the City of Minneapolis to
hopefully stir enough confusion and excitement, that others see the two explosions and
police presence and begin to riot in the streets out of anger.

34. On May 28, FBI agents observed PARSHALL purchase fireworks at the
Moapa Paiute Travel Plaza. PARSHALL also stated via the encrypted application that he
drove by the power substation. However, during the late afternoon, PARSHALL called off

the plan via the encrypted application.

 

4 According to NV Energy, a loss of the transformers on that property would result in very

long power outages.
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35. On May 29, 2020 LYNAM and PARSHALL informed the group, via the
encrypted application, to meet up and attend protests occurring on the Las Vegas strip,
regarding the George Floyd in-custody police death, LYNAM, PARSHALL, LOOMIS,
and CHS parked and donned their outer-carriers and joined the protesters in the streets
carrying rifles. |

36. CHS reported that LYNAM taunted the police by getting in their face and
yelling at them. In addition, PARSHALL was very upset that the protests were not turning
violent. PARSHALL was adamant that he wanted the violence and to be able to react to it.
PARSHALL was telling protesters that peaceful protests don’t accomplish anything and
that they needed to be violent. |

37. Las Vegas Metropolitan Police Department officers announced a dispersion
announcement and told all the protesters to go home. At that point, LYNAM and
LOOMIS, ran back to their vehicles, while PARSHALL remained in the streets. The group
got back to LOOMIS’s vehicle and drove toward the protesters, jumping a median, in order
to pick up PARSHALL. Once in the vehicle, he was very upset the protest was not violent.
They dropped him off at his vehicle, for the group to leave the area.

38. | When the group met before joining the protest, PARSHALL indicated to
CHS that he had glass bottles, rags and gasoline for Molotov cocktails. PARSHALL also
indicated that he had purchased fireworks, to be able to strap them to hairspray cans, so as
to act as an accelerant.

39. On May 30, 2020, LYNAM, PARSHALL, LOOMIS, and CHS agreed to
take part in the BLACK LIVES MATTER protest located at the Las Vegas Downtown

Container Park at 707 Fremont St, Las Vegas NV 89101. |

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40. LYNAM, PARSHALL, LOOMIS and two others all arranged to meet at a
fitness center parking lot located on Charleston Blvd in Las Vegas at approximately 1800
hours. The meeting was initiated by LYNAM. LYNAM wanted a location that was two
miles from the protest location, just east.

41. Before the meeting, FBI agents observed PARSHALL buying gasoline and
pumping the gasoline into a gas can.

42. LYNAM, PARSHALL, and LOOMIS arrived in their respective vehicles.
CHS and FBI UC arrived in a fourth vehicle. PARSHALL removed a red rag from the cab
and began to rip the rag into strips. CHS stated that PARSHALL explained the rag was a
mechanics rag, which is good for absorbing volatiles. PARSHALL then explained the rags
were part of a Molotov cocktail, where it is better to wrap the rags around the glass bottles
filled with gasoline. PARSHALL continued to explain that if the rags were placed inside the
bottles, they would burn too quickly and explode mid-air, rather than upon impact after
being thrown.

43. CHS started that while PARSHALL was ripping the rags and explaining the
use for them, LYNAM interjected that the police tear gas is flammable and when it burns,
turns into cyanide. According to LYNAM, if the police threw tear gas at them, at the rally,
they could throw the gas back at the police and then throw a Molotov cocktail at them and
burn them. |

44, FBISWAT deployed and apprehended LYNAM, LOOMIS, and
PARSHALL. All three were charged with state offenses and remain detained.

45. During their apprehension, PARSHALL dropped a glass bottle on the
ground, causing it to shatter into multiple pieces. The pieces landed at the base of a light

post, in between LYNAM and PARSHALL’s vehicle.

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46. Visible and in plain view, inside PARSHALL’s vehicle, were multiple rags,
including the ripped red rage, multiple cans of hairspray and a plastic bag with a myriad of
fireworks inside. The fireworks consisted of multiple types of mortars and various
firecrackers. In the bed of the truck, was a gas container with gas inside. PARSHALL’s
vehicle also contained a 12-gauge shotgun with numerous shotgun shells and a 45 ACP
pistol. An outer-carrier with plates was also present.

47, Visible and in plain view, inside LOOMIS’s vehicle contained an AR-15 and
approximately six magazines. An outer-carrier with plates was also present. Visible and in
plain view, inside LYNAM’s vehicle was an outer-carrier with plates.

48. OnJune 1, 2020, the FBI Las Vegas Evidence Response Team executed a
Nevada state court-issued search warrant and seized the following items from
PARSHALL’s vehicle: numerous accelerants, to include gasoline, fuel injector cleaner, and
hair spray, strips of clothes, and four glass jars filled with a liquid that tested positive as
gasoline, using a Thermo Fisher Scientific, First Defender RMX handheld Chemical
Identification Analyzer.

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49. An FBI Special Agent Bomb Technician (SABT) examined the items. Based
on the SABT’s training and experience, the above items are commonly used to assemble an
Improvised Incendiary Device (IID) commonly referred to as a “Molotov cocktail.” This
type of IID is assembled by placing an accelerant in a container, normally made of glass,
with a cloth wick that is placed into the top of the IID. The wick is then lit on fire, and the
IID is manually thrown. Upon impact the glass jar shatters creating a violent incendiary
reaction when the accelerant is exposed to an open flame.

50. Under 26 U.S.C. § 5845(a), the definition of a firearm, includes a
destructive device, which is further defined in § 5845(f). The IID described above meets
the definition of a destructive device under § 5845(f). The possession of such a
destructive device requires federal registration. 26 U.S.C. §5841. A record search

determined that no destructive device or explosive is registered to

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telephone On _Qnq -day of June 2020

 

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PARSHALL, LYNAM, or LOOMIS in the National Firearms Registration and Transfer

Record.

Respectfully submitted,

To uAS

Blake Vogt Special Agent ~~
Fedéral Bureau of Investigation

    
  

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

UNITED STATES MAGISTRATE JUD

 

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